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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,
Plaintiff, CRIMINAL NO, 22-CR-40023-SMY

)
)
)
)
VS. )
)
JEFFRY L. McCOMB, )

)

)

Defendant.

STIPULATION OF FACTS

Comes now the United States of America, by and through its attorneys, Rachelle Aud
Crowe, United States Attorney for the Southern District of Illinois, and George Norwood,
Assistant United States Attorney, together with the defendant, JEFFRY L. McCOMB, and his
counsel of record, Paul Sims, and herewith enter into the following stipulation of facts consistent
with Section 1B1.3 of the United States Sentencing Guidelines pertaining to the defendant’s
relevant conduct.

Count 1

From on or about February 2021, until on or about May 26, 2021, within the Southern

District of Illinois, the Defendant and others agreed to commit a crime - the distribution of

methamphetamine in the form of methamphetamine Ice.

During the course of the conspiracy, the Defendant was obtaining dealer amounts of
methamphetamine Ice from co-conspirator Jason Akes and Willie Dennis, and then redistributing
the methamphetamine Ice.

Court authorized wire interceptions of phone calls and text messages from the Jaylen

Vinson wiretap demonstrate the defendant was intercepted over the Vinson wire using phone
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number 618-579-4441. Intercepted calls demonstrated the defendant was a partner with Jason
Akes. Calls also demonstrated the defendant was involved in group methamphetamine purchases
with Akes and others. Calls directly involving the defendant indicate multiple, recurring meth
purchases. In addition, on approximately May 8, 2021, a person (K.T.) drove Akes and the
defendant to Cairo to purchase methamphetamine from Willie Dennis. The wiretap evidence also
indicates that the defendant and Akes combined their money to purchase methamphetamine from
Vinson. Akes provided methamphetamine to the defendant on multiple occasions, including

some occasions by fronting the drugs (providing on credit).

Count 2

On August 25-26, 2021, the defendant was in an altercation with other individuals at the
Huck's Convenience Store in West Frankfort, Illinois. The defendant left the Huck’s store before
police arrived.

On September 1, 2021, West Frankfort police officers saw the defendant on his motorcycle
on East Main Street in West Frankfort, Illinois (Franklin County). The officers then made contact
with the defendant in the gaming room at Nifty Swifty convenience store, and took him into
custody from the previous incident on August 25-26. Upon searching the defendant incident to
his arrest, officers found a clear plastic baggie in his pocket containing about 4.8 grams of
methamphetamine with a purity of 99% (DEA Lab analysis). The officers also conducted an
inventory search of the defendant’s motorcycle and located a bag containing 6 individual packaged

baggies of crystal-like substance, each weighing approximately 3.5 grams.
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Following his arrest, the defendant gave a voluntary statement to law enforcement
admitting that the baggie of methamphetamine that was in his pocket was for personal use, but that
he was planning on delivering the baggies found in his motorcycle to a friend later that day.

The Defendant knowingly and intentionally possessed the methamphetamine. The
Defendant knew that the substance was a controlled substance. The Defendant intended on
distributing the methamphetamine to other individuals. A DEA laboratory forensic chemist
would testify that the amount involved was 20.73 grams of Methamphetamine Hydrochloride with
a purity of 100%.

Williamson, Jackson, Alexander, and Franklin Counties are within the Southern District of
Illinois.

This stipulation of facts is intended only to provide the Court with a sufficient foundation
to accept the Defendant’s guilty plea and is not an exhaustive account of the Defendant's

involvement in this criminal activity.

RACHELLE AUD CROWE
United States Attorney

Lp Meir-A- 2 Kee,

JEFFRAY L. McCOMB George Notwood
Sa Assistant United States Attorney

Paul Sims{
Paul Sims : Defendant

Date: Ae a 9 02- Date: fe fs Le ~

